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Contribution of O°-Alkylguanine and N-Alkylpurines to
the Formation of Sister Chromatid Exchanges,
Chromosomal Aberrations, and Gene Mutations: New
Insights Gained From Studies of Genetically Engineered
Mammalian Cell Lines

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O*-methyl- and O%-ethylguanine are the major
premutagenic and precarcinogenic lesions in-
duced in DNA by monofunctional alkylating
agents, albeit formed in minor amounts. The in-
volvement of these lesions in SCE and aberra-
tion formation is Jess clear. We have analyzed
the contribution of O%-alkylguanine to SCE and
aberration formation, as well as its toxic and
point mutation inducing effect in transgenic Chi-
nese hamster ovary (CHO) cell lines that express
variable amounts of human O%-methylguanine-
DNA methyltransferase (MGMT). Cells that
overexpress MGMT (or the bacterial Ada pro-
tein) gained resistance to the formation of alky-
lation-induced SCEs and aberrations, as com-
pared to MGMT deficient cells. A correlation
was apparent between the level of protection for
SCEs and cell killing, indicating that both phe-
nomena are interrelated. The protective effects
were dependent on the level of MGMT expres-
sion, the agent used for alkylation, and cel! cycle
progression. Our data suggest that at least 2
kinds of lesions are responsible for SCE and ab-

erration formation, namely, ©%-alkylguanine
and one or various N-alkylation products. The
probability that O%-methylguanine is converted
into cytogenetic effects has been estimated to
be about 1:30 for SCEs, and 1:147,000 and
1:22,000 for chromosomal aberrations in the
first and second post-treatment mitosis, respec-
tively. The induction of SCEs and likely also of
aberrations by O%-methylguanine requires two
replication cycles and is supposed to involve the
formation of secondary DNA lesions. Increased
repair of 3-methyladenine and 7-methylguanine
in CHO cells that overexpress the N-methylpu-
rine-DNA glycosylase (MPG) after transfection
with the human MPG-cDNA did not give rise to
protection against methylation-induced SCEs
and aberrations, probably because of incom-
plete excision repair. MPG overexpressing cells
reacted even more sensitively to methylating
agents, suggesting apurinic sites formed as a
result of MPG action to be SCE and aberration-
inducing lesions. © 1993 Wiley-Liss, Inc.

Key words: DNA repair, O%-methylguanine-DNA methyltransferase, 3-methyladenine-
DNA glycosylase, alkylating carcinogens and mutagens

INTRODUCTION

An understanding of the chain of events involved in the
transformation of critical primary lesions into various ge-
netic end points, including SCEs and chromosomal aberra-
tions, requires that the primary lesions are identified. For
alkylating agents which are widely distributed environmen-
tal mutagens/carcinogens and are also used for tumor che-
motherapy, at least 12 sites of their reaction with DNA are
known. The relative amount of DNA alkylation products
induced depends on the chemical structure of the compound
and the electrophilicity of the reactive alkylating species.
The major alkylation site is the N7 of guanine followed by
N3 of adenine. NI of adenine, N3 of guanine, and O° of
guanine, Alkylations at the DNA phosphate are also quite
frequent. O-alkylated bases other than O®-alkylguanine

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(e.g., O*-alkylthymine) are generally induced at minor
amounts [for review see Beranek, 1990].

With the exception of the alkylphosphotriesters, the main
DNA alkylation lesions induced in DNA in mammalian cells
are repaired. O®-alkylguanine is repaired by the O°-methyl-
guanine-DNA methyltransferase (for mammalian cells
MGMT, for E. coli the Ada and Ogt proteins) which trans-
fers the alkyl group from the O®-alkylguanine to a cystein
residue in its active center. The repair protein is thereby

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inactivated, and guanine in the DNA restored [for review
see Pegg, 1990]. Cell lines that do not express detectable
amounts of MGMT are defined phenotypically as Mex”
[Sklar and Strauss, 1981]. In these cells O°-methylguanine
(O®-MeG) persists in DNA, indicating that damage reversal
by MGMT is the main and very likely the only mechanism
by which this lesion is repaired in eukaryotes.

The N-alkylpurines 7-methylguanine (7-MeG), 3-methyl-
adenine (3-MeA), and 3-methylguanine (3-MeG) are re-
moved from DNA by excision repair, the first step of which
is mediated by the action of a N-methylpurine-DNA glyco-
sylase (MPG). The MPG-catalyzed base hydrolysis gives
rise to an apurinic (AP) site in DNA which is consecutively
repaired by a concerted action of apurinic endonuclease,
DNA polymerase and ligase. The mammalian MPG is com-
parable with regard to its broad substrate specificity to the
bacterial Alk A protein [Lindahl et al., 1988]. Although
MPG removes various N-methylpurines from DNA, it
shows substrate preferences. Thus it removes 3-MeA at a
higher rate from DNA than 7-MeG [Male et al., 1987;
Ibeanu et al., 1992].

Which of the lesions induced in DNA by monofunctional
alkylating agents (MAA) ultimately give rise to chromo-
somal aberrations and recombination events that are visibly
expressed as sister chromatid exchanges (SCEs) is a matter
of debate for years. Based on correlation analyses of the
electrophilicity of a given agent (i.e., its selectivity to alky-
late DNA at nucleophilic sites, as expressed by the Swain-
scott constant s or by the initial ratio of 7-alkylguanine/O°-
alkylguanine in DNA) and its clastogenic potency, the
conclusion has been drawn that N-alkylpurines represent the
main critical lesions for induction of aberrations [Vogel and

Abbreviations

AP apurinic sites
CHO Chinese hamster ovary
EMS ethy! methanesulfonate
ENU N-ethyl-N-nitrosourea
HPRT hypoxanthine-guanine

phosphoribosyltransferase
MAA monofunctional alkylating agents
Mex alkyltransferase deficient cells
Mex* alkyltransferase proficient cells
MGMT O°-methylguanine-DNA methyltransferase
MMS methyl methanesulfonate
MNNG N-methyl-N’-nitro-N-nitrosoguanidine
MNU N-methyl-N-nitrosourea
MPG N-methylpurine-DNA glycosylase
O°-EtG O°-ethylguanine
O°-MeG O°-methy! guanine
SCEs sister chromatid exchanges
3-MeA methyladenine
3-MeG 3-methyl guanine
7-MeG 7-methylguanine

Natarajan, 1979; Vogel et al., 1990]. On the other hand, no
clear-cut correlation was found between the amount of a
particular DNA alkylation lesion induced, its persistence in
DNA and the alkylation-induced aberration frequency [Con-
nel and Medcalf, 1982]. The same is true for SCEs [Connel
and Medcalf, 1982; Heflich et al., 1982; Morris et al.,
1983}.

New insights into this issue were obtained by utilizing
genetically engineered cell lines that are characterized by
expression of defined DNA repair functions. Although re-
pair deficient Mex” tumor cell strains are available and have
been compared to human Mex® cells with respect to their
genotoxic response upon alkylation [Day et al., 1980], the
conclusions are limited due to the fact that possibly other
genetic changes could have accumulated in the transformed
cells. Cell strains generated by DNA-mediated gene transfer
have the advantage that they are isogenic, 1.e. differ only in
a particular function. Here we summarize our results ob-
tained with cell strains that overexpress either MGMT or
MPG upon stable transfection with the corresponding cDNA
expression plasmids.

GENETICALLY ENGINEERED CHINESE HAMSTER
CELLS EXPRESSING HUMAN ALKYLTRANSFERASE

To generate strains that differ only in their capacity to
repair O°-alkylguanine we transfected Chinese hamster cells
(strain CHO-9) that do not express MGMT activity (Mex ~
phenotype) with the human MGMT cDNA. The cDNA
[Tano et al., 1990] was recloned into the pS V2neo expres-
sion vector and was thus brought under the control of the
SV40 early promoter (the resulting plasmid was termed
pSV2MGMT) [Kaina et al., 1991b]. The expression plas-
mid was cotransfected with pS V2neo in order to select for
transfectants with the drug G418. For a control, transfec-
tions were performed with pSV2neo and salmon sperm
DNA (instead of pSV2MGMT). Various stable MGMT
transfectant strains have been isolated that express MGMT
at variable amounts ranging from 8000 to 200000 molecules
per cell. Transfection with the neo gene alone did not en-
hance MGMT activity above the detection level. Previously
we have shown that CHO-9 cells harbour the endogenous
MGMT gene [Fritz et al., 1991], the expression of which
seems to be down-regulated [Tano et al., 1991; Mitra and
Kaina, 1993]. The MGMT activity in the transfectants is
due to expression of the haman MGMT cDNA, which was
shown by Northern and Western blot analyses [Kaina et al.,
1991b].

ALKYLTRANSFERASE PROTECTS AGAINST
ALKYLATION-INDUCED GENE MUTATIONS

The expression of MGMT clearly reduces the gene muta-
tion frequency of transfectants treated with MNNG or ENU
(Table 1). For MNNG, induced mutations were reduced by
up to 98.8%, indicating that virtually all mutations were
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TABLE |. MNNG and ENU-Induced Gene Mutation Frequencies at the HPRT Locus in CHO Control (Strain Neo-C5),
MGMT Transfected (Strains AT4 and AT8) and Ada Transfected (Strain ada-C4) Cells, and Estimated Level of Protection
(Expressed as Percentage of Reduction of Mutation Frequency in the Alkyltransferase Transfectants)*

Level of protection (%) for

MNNG MNNG-induced ENU ENU-induced
Cell strain* MGMT level? Control (1 pM) mutations (2 mM) mutations MNNG ENU
CHO-9-neo-C5 Not detectable 5.8 31.3 25.5 171.3 165.5 — —
(<2,000)
Tk40-AT4 58,650 1.2 1.8 0.69 34.2 34.2 97.6 79.3
Tk40-AT8 41,820 0.3 0.6 0.3 37.4 37.4 98.8 77.4
CHO-9-ada-C4 179,500 0.3 0.6 0.3 17.8 17.8 98.8 89.2

*Mutation frequencies are given as 6-thioguanine resistant cells per 10° survivors. The mutation assay was performed as described [Kaina et al..
1991b]. Treatment with MNNG (1 2M) was virtually non-toxic for the MGMT and ada transfectants, and reduced colony formation by 70% (30%
survival) in the control CHO-9-neo-C5. In case of ENU the alkyltransferase transfectants were not protected against the toxicity of the agent. A
dose of 2 mM reduced colony formation in all strains by ~55%.

“Strain neo-C5 was transfected with the neo-gene (pSV2neo) only; strains Tk40-AT4 and Tk40-AT8 were transfected with neo and the human
MGMT cDNA (plasmids pSV2neo + pSV2MGMT)); strain ada-C4 was transfected with neo and the bacterial ada-gene (pSV2neo + pSV2ada);
for a detailed description of these strains see Kaina et al. [1991b].

>Molecules per cell. For strain CHO-9-ada-C4, as well as for the other strains, the alkyltransferase activity was determined by measuring the
methyl! group transfer to protein from a [7H]MNU alkylated DNA substrate. Since Ada has two active sites the alkyltransferase activity (as
expressed by molecules per cell) was corrected by supposing half of the transferred activity to be due to removal of methyl groups from the

DNA-phosphate.

brought about by lesions that are repaired by MGMT
in vivo, i.e., O°-MeG. O*-Alkylthymine which is a mis-
pairing lesion too, appears to be involved not significantly in
MNNG but in ENU-induced mutagenesis, since Ada that
repairs this lesion [Lindahl et al., 1988] is more efficient in
protection than MGMT, when expressed in CHO cells (see
Table J).

In contrast to MNNG, for ENU only a 77 to 89% reduc-
tion of mutation frequency was observed. The lower protec-
tive effect exerted by MGMT in case of ENU is very likely
not due to the higher efficiency of ENU to induce mutations
and saturation of the MGMT repair capacity, since even in
the high alkyltransferase-expressing strain CHO-9-ada-C4
(generated by transfection with the bacterial ada gene) a
significant residual level of mutations remained (see Table I
for level of protection). Thus, after ENU exposure, most
mutations are clearly caused by O°-alkylguanine. A minor
amount (10-25%) seems to be due to O*-ethylthymine and
very likely also to other lesions that are not repaired by
MGMT and the Ada protein.

The alkyltransferase represents the major protective
mechanism directed against alkylation-induced gene muta-
tions. The alkyltransferase is probably also decisive in
avoidance of spontaneous mutations both in bacteria
[Rebeck and Samson, 1991] and in mammalian cells [Aqui-
lina et al., 1992]. The conclusions drawn from work with
the MGMT and ada transfectants support the concept that
O°-alkylguanine is the principal premutagenic lesion for
MAA. This concept was initially based mainly on the find-
ings that i) O°-MeG mispairs with thymine during replica-
tion [Abbott and Saffhill, 1979), i1) most of the point muta-
tions induced by MNNG, MNU, ENU and related drugs are
GC — AT transitions (as detected, e.g., in the activated

c-Ha-ras gene and the vermilion gene of D. melanogaster
which is neutral for selection), and iii) there is a good corre-
lation between the ability of MAA to react with the oxygen
of bases in DNA, their efficiency to induce O°-alkylguanine
and their point mutation-inducing potency [Vogel et al.,
1990, and further references herein].

EFFECT OF ALKYLTRANSFERASE EXPRESSION
ON SCE INDUCTION: AGENT SPECIFICITY OF
THE CONTRIBUTION OF O%-ALKYLGUANINE

At the chromosomal level SCEs are a manifestation of
homologous recombination between the DNA molecules of
a replicated chromosome, the formation of which is
bounded on the passage of cells through the S phase. It is
well established that all DNA damaging treatments induce
SCE formation, albeit with different efficiencies. Cross-
linking agents such as mitomycin C are quite efficient induc-
ers, suggesting that replication-blocking lesions are causally
involved in SCE formation. O°-MeG and O°-EtG are misin-
structive lesions that do not (completely) block DNA repli-
cation. It was therefore interesting to note that SCE induc-
tion is dramatically reduced in pSV2MGMT transfected
cells that express MGMT, as compared to the corresponding
MGMT deficient neo* transfectant (or the non-transfected
parent line CHO-9) (Fig. 1). There was no significant effect
of MGMT expression on the spontaneous level of SCEs [see
Kaina et al., 1991b]. SCEs induced by a treatment of 0.75
uM MNNG (1 h exposure) dropped from 46 exchanges in
the control (strain CHO-9-neo-C5) to 8-14 exchanges per
cell in high-level MGMT expressors. Taking into account
the spontaneous SCE levels (see Table IT legend) in transfec-
tants that express more than 40000 MGMT molecuies/cell
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MGMT (molecules /cell x 10°)
Fig. 1. MNNG-induced cell killing (A) and MNNG-induced SCE fre-

quency (B) as a function of the level of alkyltransferase expressed in
CHO-9 control (Mex) and various stable MGMT transfectant strains. In
the survival experiments, cells were treated with 3 #M MNNG (60 min).
The number of colonies appearing after 7 days is given in relation to the
non-treated control. For a comparison, in (B) SCE frequency in relation to
MGMT expression is shown (data from Kaina et al. [1991b] and unpub-
lished). The SCEs were induced by treatment with 0.75 41M MNNG (60
min). The mutagen-induced SCE frequencies were calculated by subtract-
ing the spontaneous SCE level from that obtained after MNNG treatment.

there was, on average, a residual induced level of 4 SCEs
remaining per cell (see Fig. 1B). From these data we con-
cluded that the vast majority of SCEs induced by MNNG is
due to O°-MeG, and that a minority of about 10% is caused by
one or several other alkylation lesions [Kaina et al., 199 1b}.

A comparison of SCE frequencies (shown in Table ID
induced by various MAA in CHO Mex” and MGMT or Ada
expressing transfectants revealed remarkable differences in
the degree of protection mediated by the alkyltransferase.
These agent-specificities in protection against SCE forma-
tion indicate that the conclusion drawn above that O°-alky]-
guanine is the major SCE-inducing lesion is true only for
MNNG and MNU. Both agents induce nearly the same
pattern of DNA alkylation [~9% of total alkylations in vivo
occur at the O®-position of guanine; see Beranek, 1990].
Assuming that SCEs induced by MAA are mainly due to
O°-alkylguanine, it is expected that the protection level cor-
relates with the relative amount of O®-alkylguanine they

induce. This, however, is not the case. Thus ENU, which
induces the highest relative amount of O®-alkylguanine,
yields only a slightly reduced SCE level in MGMT and ada
transfected cells as compared to the neo* control (Table Ib.
The level of protection is also significantly lower for EMS
and for MMS than for MNNG and MNU (Table IV). These
results suggest that in the case of MMS and the ethylating
agents EMS and ENU, one or various lesions other than
O°-alkylguanine significantly contribute to SCE formation.
The nature of these lesions is unknown. It should be noted
that ENU induces an exceptionally high proportion of ethyl-
phosphotriester in DNA (about 56%, as compared to 15%
for MNU) which could be speculated to cause SCE forma-
tion. This lesion, however, and also O*-ethylthymine are
probably not involved in SCE induction since the expression
of the Ada protein is as ineffective as MGMT in reducing the
ENU-induced SCE frequency (see Table IID).

RELATION BETWEEN SCE AND KILLING
PROTECTION MEDIATED BY
THE ALKYLTRANSFERASE

O°-Methylguanine induced in Mex cells is clearly a
toxic lesion, since MGMT expression in CHO transfectants
(and HeLa transfectants, unpublished results) prevents
MNNG and MNU-induced cell killing [Dunn et al., 1991;
Kaina et al., 1991b; Wu et al., 1991]. It is remarkable that
the survival of cells treated with MNNG increases as a
function of MGMT activity, while at the same time the SCE
frequency declines (Fig. 1). With >40,000 MGMT
molecules/cell, protection against killing reaches a plateau
at ~90% cell survival and SCE frequency is reduced by
~90%. Interestingly, complete prevention of both MNNG-
induced killing and DNA recombination was not observed
even in high MGMT expressing strains.

The correlation between SCE and killing protection sug-
gests that SCE induction and reproductive cell death are
interrelated phenomena. This conclusion gains support from
the protection level mediated by MGMT against various
alkylating agents. For the end point cell killing no signifi-
cant protection was afforded against ENU, weak protection
against MMS and EMS, and strong protection against
MNNG and MNU. The correlation between killing and SCE
protection levels for these MAA is shown in Figure 2. It
indicates a similar relative contribution of O°-alkylguanine
to induction of SCEs and reproductive ceil death for each
reagent. It should be noted that there is no apparent correla-
tion between the protection level and the electrophilicity of
the compounds (see Table IV).

Comparing the efficiency of various MAA to induce
SCEs and cell killing. Morris et al. [1982] also found a
correlation between both end points. Since alkylation-in-
duced SCEs and cell killing effects are obviously interre-
lated the question arises whether the recombinations giving
rise to SCEs are toxic events, or whether O°-MeG persisting
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TABLE Il. Sensitivity of Strains CHO-9-Neo-C5, the MGMT Transfectant Tk40-AT8
and the Ada Transfectant Ada-C4 Towards the Induction of SCEs by Various
Alkylating Agents

Mutagen induced SCEs per cell*

MNNG MNU MMS EMS ENU
Cell strain (1 pM) (100 M) _ (0.3 mM) (4 mM) (0.5 mM)
CHO-9-neo-C5 50.8 39.3 38.1 21.0 11.1
Tk40-AT8 6.0 3.3 18.3 9.7 9.5
CHO-9-ada-C4 8.9 4.8 25.1 10.2 10.9

*SCEs of the non-mutagen-treated cells (controls) were subtracted from those obtained after mutagen
treatment. The spontaneous SCE levels were for strain neo-C5, 6.6 + 2.2; Tk40-AT8, 6.2 + 2.0; and
ada-C4, 6.2 + 2.2. For comparison, the nontransfected CHO-9 cells had a spontaneous SCE level of

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5.9 + 1.7.

TABLE Il!. Induction of SCEs in MGMT Deficient CHO
Celis (Strain CHO-9-neo-C5), the MGMT Transfectant
Tk47-AT17-C3, and the Ada Transfectant Ada-C4*

ENU

concentration Cc HO-9-neo-5 Tk47-AT17-C3 CHO-9-ada-C4
contral 6.8 + 2.3 9.2422 7842.8
0.8 mM 22.9 + 4.3 22.0 + 5.4 26.6 + 6.4
1.2 mM 40.2 + 10.6 29.9 + 7.2 32.7 + 6.3
1.6 mM 55.8 + 10.4 36.8 + 8.1 41.2+ 8.8

*ENU treatment was performed for 60 min. 25 metaphases were
scored per treatment level. The transfectant Tk47-AT17-C3 expressed
~2 x 10° MGMT molecules per cell. For MGMT level of the other
strains see Table I.

in DNA exerts toxicity by another mechanism that does not
involve DNA recombination. Further studies on interference
of O®-MeG with enzymes involved in DNA replication and
recombination will hopefully clarify this question.

IS O&-METHYLGUANINE A
CLASTOGENIC LESION?

Previously it has been shown that transfection of Mex”
cells with the ada gene rendered them more resistant to
aberration formation after alkylation [White et al., 1986;
Kaina et al., 199]a]. This also holds true for Mex” Chinese
hamster cells that were stably transfected with the human
MGMT cDNA; these cells exhibited a lower level of MNNG
and MNU-induced aberrations than the isogenic controls
transfected with the neo gene only [Kaina et al., 1991b].
Protection was observed for all types of aberrations
(Table V), indicating that O°-MceG is involved in the gener-
ation of different types of chromosomal structural changes.

Based on the finding that after 1 h treatment with MNNG
and a subsequent recovery time of 16 h, the aberration
frequency was reduced by maximally 40% (from 70 to 40%
aberrant metaphases). in MGMT expressing strains, the
conclusion was drawn that the majority of MNNG-induced
aberrations is due to lesions other than O°-MeG [Kaina
etal., 1991b]. Extending these studies with MGMT and ada
transfectants we have found that the level of clastogenic

protection exerted by the alkyltransferase increased with
elevated recovery time (in preparation). On the basis of the
mean aberration frequency induced in first and second post-
treatment mitoses (recovery up to 36 h) the MNNG-induced
aberration frequency in MGMT expressing cells is 88%
lower than in the Mex” control. Thus the overall contribu-
tion of O°-MeG to aberration formation in Mex” cells ap-
pears to be higher than previously concluded on the basis of
data obtained with a recovery time of 16h.

The clastogenic protection is not only dependent on the
level of MGMT expression but also on the agent used. The
MGMT transfectants proved to be most resistant to the clas-
togenic effect of MNNG and MNU, less resistant to MMS
and EMS, and virtually no protection was observed against
ENU-induced aberrations [Kaina et al., 1991b].

The strong contribution of O°-MeG to aberration forma-
tion in case of MNNG and related agents, as deduced from
the work with MGMT transfectants, apparently contradicts
the conclusions drawn previously from a comparison of the
s-value of MAA and their clastogenic potency in Drosophila
melanogaster. Since agents with high s-value (such as
MMS) were most clastogenic (as measured by X-ring chro-
mosome formation in relation to sex-linked recessive lethal
mutations), N-alkylations were suggested to be critical for
induction of chromosomal breakage [Vogel et al., 1990].
MMS is in fact also highly clastogenic in mammalian cells,
and the weak protection brought about by MGMT against
MMS-induced cilastogenicity indicates that N-methylpu-
rines are indeed important for aberration production. We
should stress the point that the Drosophila cells that were the
target in the above-mentioned mutagenicity studies, are very
likely able to repair O°-MeG. It is therefore reasonable to
suppose that most of the induced O°-MeG was repaired in
these cells before replication. Therefore the preponderant
clastogenic lesions in case of MMS and related drugs might
be the N-alkylpurines. In summary, the clear protective
effect exerted by MGMT against MNNG and MNU-induced
aberrations suggest O°-MceG, if persisting in DNA, to be an
important clastogenic lesion. The agent specificity of clasto-
genic protection and the correlation analyses furthermore
suggest that at least two classes of alkylation lesions are
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TABLE IV. Level of Protection Caused by the Alkyltransferase Against SCEs Induced
by Various Alkylating Agents, the Relative Amounts of O%-Alkylguanine They Induce
in DNA, and Their Ability to Induce SCEs in the First and Second Post-Treatment
Mitosis, Respectively

SCEs first and second cell cycle

O%-AlkGua SCE protection
Agent s-value* (my (%)° SCEs second cell cycle
MMS 0.83 0.3 52 46.6:23.2
MNU 0.42 8.2 92 38.4:3.4
MNNG 0.42 9.2 88 28.0:0.8
EMS 0.67 2.6 54 32.4:11.4
ENU 0.26 12.7 15 9.8:2.8

“Data from Vogel et al. [1990].

Relative amount of O%-alkylguanine induced in cellular DNA in in vivo, expressed as % of total
alkylation: data from Beranek [1990].

‘Reduction of mutagen-induced SCE frequency in MGMT expressing CHO cells (strain Tk40-AT8), as
compared to the Mex” control (strain CHO-9-neo-C5). For induced SCEs and mutagen concentrations see
Table II.

“‘Mutagen-induced SCE frequencies of cells treated with the mutagen (for 60 min) two and one cell cycle
before fixation, respectively. For mutagen concentrations and experimental details see Kaina and Aurich

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[1985].

100r MNNG S° MNU

s0r

Killing protection (%)

9 1 po 1

0 50 100
SCE protection (%)

Fig. 2. Correlation between the effect of MGMT expression on cell
killing and SCEs induced by various monofunctional alkylating agents. The
killing protection mediated by MGMT was calculated from survival curves
{see Kaina et al., 1991b} and given by the increase in cel! survival of
MGMT expressors (strain Tk40-AT8), relative to the Mex control (strain
CHO-9-neo-C5), at a dose that reduced survival of the Mex” control to the
10% level. SCE protection was calculated from data shown in Table II and
expressed as the percentage of reduction of induced SCE frequency in the
MGMT transfectant Tk40-AT8.

clastogenic. If the amount of potentially clastogeniclesion(s)
other than O°-MeG (possibly N-alkylpurines and the result-
ing apurinic sites) exceeds a particular threshold tolerated by
the cells, these lesions seem to become most critical for
aberration formation.

CELL CYCLE DEPENDENCE OF CONVERSION OF
O°-METHYLGUANINE INTO SCEs AND
ABERRATIONS: THE ROLE OF PRIMARY AND
SECONDARY DNA LESIONS

Previously we have shown that the induction of most of
the SCEs by MNNG and MNU in Mex” Chinese hamster

cells requires two rounds of replication after alkylation
[Kaina and Aurich, 1985]. Thus treatment of cells with the
same dose of MNNG one and two cell cycles before fixation
induced 0.8 and 28 SCEs/cell, respectively. These experi-
ments also revealed a remarkable agent specificity. Thus
MMS, EMS and ENU induced significantly more SCEs in
the first post-treatment replication cycle than MNU and
MNNG (see Table IV). From these data we have concluded
that both primary and secondary DNA lesions can give rise
to SCEs. Most of the MNNG and MNU-induced SCEs are
caused by secondary lesions that were introduced in DNA
during the first replication cycle after alkylation. In this case
the decisive critical primary lesion appears to be O°-MeG
since MGMT expression nearly completely prevented SCE
induction. Those SCEs induced in the first post-alkylation
replication cycle (a considerable part for MMS, EMS and
ENU) are supposed to be due to primary lesions that are
different from O° alkylguanine. They are also different from
O*-alkylthymine and the s-stereoisomere of the methylphos-
photriester, since both the MGMT and the Ada repair activ-
ity does not or only weakly protects cells from SCE induc-
tion by ENU, MMS and EMS [Kaina et al., 1991b, and
Table IV]. Furthermore, we have shown that the yield of
SCEs induced in the first replication cycle after treatment
with high doses of MNNG is not affected by MGMT expres-
sion (in preparation), suggesting that in this case other le-
sions apart from O°-MeG are involved.

There are two lines of arguments indicating both primary
and secondary DNA lesions to be also involved in aberration
formation. Firstly, the protective effect exerted by MGMT
and Ada on MNNG-induced clastogenicity is higher in the
second than in the first post-treatment mitoses (in prepara-
tion). Secondly, about 5- to 10-fold higher doses of MNNG
or MNU are required to induce aberrations in the first than in
the second post-treatment mitoses [Thust et al., 1980;
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TABLE V. Frequency and Types of Aberrations Induced by MNNG (20 1M, 60 Min Treatment) in CHO-9, CHO-9-neo-C5,

CHO-ada-C4 and Tk47-AT17-C3*

Aberrant
No. mitoses metaphases Aberrations/
Cell strain scored (%) cell g’ 2" b’ b’ Q T Dic Exch
CHO-9 100 73 1.21 1 3 24 1 19 34 2 37
CHO-9-neo-C5 100 74 1.40 11 2 18 3 15 26 4 51
CHO-ada-C4 100 4 0.20 7 0 0 0 0 I 0 12
Tk47-AT1I7-C3 100 4l 0.70 6 2 15 9 3 8 3 24

*g’, chromatid gaps; g”, isochromatid gaps: b’, chromatid breaks: b”, isochromatid breaks: Q, quadriradials; T, triradials; Dic, dicentrics; Exch,

all other types of reunited and non-reunited exchanges.

r MPG expression SCEs Chromosomal
oS aberrations
— L wy
_ 80+
x
n 8 L 37
2
c = 60 = 4
“4 7 @
= 6 w L 2
= ~S ~N 2p
‘= 4 G 40r 2
= r oO of
8 wT r ~
wo + 20 2 Ir
a. 2+ ° r oS
= a st
<—
0
Oo = = S
= we OF = wos FF
gS =f Zh 9 Z=& ZS
Oo zo ZO oO =e EN

Fig. 3. N-methylpurine-DNA glycosylase (MPG) activity and SCE and aberration frequencies induced by
MMS or MNNG in neo* (strain CHO-9-neo-C5) and neo‘ MPG* (strain CHO-9-MPG-C9) transfectants. For a
description of generation and further properties of the transfectant strains see Ibeanu et al. [1992].

Kaina, 1985]. This might indicate that most of the aberra-
tions induced in the first post-alkylation replication cycle are
due to N-alkylations which are tolerated at a low dose level,
and that most of the aberrations induced in the second post-
alkylation cell cycle are due to secondary lesions that were
derived from O°-alkylguanine persisting in DNA.

DOES INCREASED REMOVAL OF
N-METHYLPURINES FROM DNA PROTECT CELLS
FROM SCE AND ABERRATION INDUCTION

BY ALKYLATION?

If N-methylpurines (i.e., 7-MeG, 3-MeA, and 3-MeG)
give rise to induction of SCEs and chromosomal aberra-
tions, their increased removal from DNA is then supposed to
render cells more resistant to MAA. To prove this hypothe-
sis, transgenic Chinese hamster cell lines were generated
that overexpress the N-methylpurine-DNA glycosylase
(MPG) upon transfection with human MPG-cDNA (cloned
by Chakravarti et al., 199i]. Although the transfectants
expressed up to 16 times more MPG than the corresponding
controls (CHO-9 or CHO-9-neo transfectant) and removed
both 7-MeG and 3-MeA from DNA at a higher rate, they did

not respond to MNNG and MMS treatment with a reduced
level of SCEs and chromosomal aberrations. Instead the
SCE frequency was significantly enhanced, and especially
at high dose levels, cells showed a dramatic increase in
chromosomal aberrations (Fig. 3). With high MMS doses
there was also a marked reduction of cell survival, as com-
pared to the non-MPG overexpressing control line [Ibeanu
et al., 1992]. Apparently, increased removal of 7-MeG and
3-MeA from DNA in CHO cells is disadvantageous rather
than helpful in avoiding genotoxic effects. The simplest
explanation is that MPG is not rate limiting in excision
repair of N-methylpurines in CHO-9 cells. MPG overex-
pression is supposed to give rise to a high yield of AP sites
that are reported to be genotoxic [Loeb, 1985]. To provide
an explanation for the fact that MPG overexpressing cells
reacted more sensitively with increasing mutagen doses, it is
proposed here that at high level of DNA alkylation, AP sites
are generated in overlapping repair patches. If these are
processed by AP endonuclease and exonuclease, DNA dou-
ble-strand breaks are ultimately formed that give rise to
chromosomal changes and toxic effects, and that may also
initiate DNA recombination, leading to SCEs.
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TABLE VI. Probability that O°-Methylguanine Induced in DNA of Mex” CHO Cells by MNNG Is Converted Into Sister
Chromatid Exchanges or Chromosomal Aberrations (Transition Probability)

Induced events per cell in strains

Corrected
Induced Induced % reduction effect
O°-MeG per O°-MeG per CHO-9-neo-C5 Tk47-AT17-C3 in Mex* induced by __ Transition
End point MNNG-treatment 10” nucleotides* © genome” = (neo*/MGMT7) _ (neo*/MGMT*) cells O°-MeG* probability
SCE 0.75 wM, 60 min 1.23 1.070 39.0 2.5 94 36.5 1:30
Aberration 15 4M, 60 min 23.7 20,550 0.21 0.07 67 0.14 1:147,000
16 h recovery
15 uM, 60 min 23.7 20,550 0.94 0.01 89 0.93 1: 22,000

36 h recovery

Data obtained from linear extrapolation of dose-effect-curve of induced O°-MeG in CHO-9 cells [Kaina et al., 1990];

>Based on a DNA content of CHO cells in G1 of 4.78 pg, corresponding to 8.67 X 10° nucleotides [Sontag et al., 1990].

°SCEs and aberrations that are supposed to be due to O°-MeG in Mex” CHO cells; data were obtained by correction of SCE and aberration
frequencies induced in CHO-9-neo-C5 cells on the basis of the percentage of reduction observed in cells expressing MGMT at high level (strain

Tk47-AT17-C3).

PROBABILITY OF CONVERSION OF O°-MeG
INTO SCEs AND ABERRATIONS

If all the protective effects observed in MGMT transfec-
tants were due to repair of O°-MeG (which is very likely the
case, as even if O*-MeT is repaired by MGMT, its contribu-
tion can be neglected because of the low amounts induced)
what then is the probability of conversion of this lesion
during replication into various end points? A dose of 0.75
uM of MNNG induces 39 SCEs/Mex™ cell and about 10°
O°-MeG lesions per Chinese hamster genome. If >90% of
the induced SCEs are due to O°-MeG, as deduced from the
MGMT mediated protection level, then ~30 O°-MeG mol-
ecules induced and persisting in the genome are expected to
give rise to one SCE per CHO cell (see Table VI).

The same dose reduced cell survival by ~40% in CHO
Mex cells and had no effect on survival of MGMT express-
ing variants. Apparently a smal! number of O°-MeG mole-
cules induced per genome is sufficient for SCE induction
and cell inactivation. This is in line with a previous report in
which, for some Mex” cell lines, 280-500 O°-MeG mole-
cules were calculated to be induced in DNA by MNNG at
D;, dose level [Karran and Bignami, 1992]. Furthermore,
the calculations agree reasonably well with a previous esti-
mation for Mer~ human tumor cells for which 2-20 O°-
MeG molecules were reported to correspond to 1 SCE
[Scudiero et al., 1984].

Similar calculations were performed by us for chromo-
somal aberrations (see Table VI for MNNG and a recovery
time of 16 and 36 h). The probability of O°-MeG being
converted into aberrations is much lower than into SCEs.
Thus about 147,000 O°-MeG molecules are required per
genome of a Mex’ cell for the generation of one aberration
in the first post-treatment cell cycle. For the consecutive cell
cycle the amount of O®-MeG that gives rise to an aberration

event is significantly lower; it has been estimated to be in the
range of 22,000 molecules/cell.

CONCLUSIONS

O°-methyl- and O°-ethylguanine are the major point-mu-
tagenic lesions for MAA. The contribution of these lesions
to the formation of SCEs and chromosomal aberrations ap-
pears to be dependent or the absolute amounts present in
DNA during replication in relation to other alkylation dam-
ages. In cells that do not repair O°-MeG (Mex_ ), this lesion
is most important for SCE and aberration formation in case
of treatment with MNNG and MNU. For other alkylating
agents such as MMS, EMS and ENU, and for cells that are
phenotypically Mex", lesions other than O°-alkylguanine
appear to contribute significantly to SCE and aberration
formation, as well as to toxic effects. Since N-methylpurine-
DNA-glycosylase overexpressing cells are sensitized to me-
thylating agents rather than gaining resistance, it is con-
cluded that apurinic sites resulting from repair of
N-methylpurines contribute to the toxic, SCE-inducing and
clastogenic effects of MMS and related drugs as well.

O°-MeG is not a replication blocking lesion. Nevertheless
a very low quantity (~30 molecules per CHO Mex’ cell)
already appears to be sufficient for the induction of SCEs
and cell killing. Considerably higher quantities persisting in
DNA are necessary for induction of chromosomal aberra-
tions. O°-MeG is probably converted into a secondary lesion
during replication since efficient induction of SCEs and
aberrations by MNNG and MNU needs two rounds of repli-
cation. The nature of the secondary lesions that are postu-
lated here to be involved in generation of most of the geno-
toxic effects induced by MNNG and MNU remains to be
elucidated.
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